                       Case 1:21-cr-00259-TSC Document 1 Filed 03/12/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                            District of &ROXPELD

                  United States of America                           )
                             v.                                      )
                                                                     )      Case No.
                       Mark K. Ponder
                                                                     )
                      DOB: XXXXXX                                    )
                                                                     )
                                                                     )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021              in the county of                                          in the
                         LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:

             Code Section                                                     Offense Description
        18 U.S.C. §§ 1752(a)(1), (2), and (4) - Knowingly Entering or Remaining in any Restricted
        Building or Grounds Without Lawful Authority,
        40 U.S.C. § 5104(e)(2)(D) and (F) - Violent Entry and Disorderly Conduct on Capitol Grounds,
        18 U.S.C. § 231(a)(3) - Obstruction of Law Enforcement During Civil Disorder,
        18 U.S.C. § 1512(c)(2) - Obstruction of Justice/Congress,
        18 U.S.C. §§ 111(a)(1) and (b) - Assaulting a Federal Officer with a Dangerous or Deadly Weapon.
         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                               Complainant’s signature

                                                                                        Erik Potrafka, Special Agent
                                                                                               Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH
                                                                                                            Digitally signed by G. Michael
                                                                                                            Harvey
                                                                                                            Date: 2021.03.12 15:54:29 -05'00'
Date:             03/12/2021
                                                                                                  Judge’s signature

City and state:                         :DVKLQJWRQ'&                          G. Michael Harvey, U.S. Magistrate Judge
                                                                                               Printed name and title
